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March 13, 2023
VIA ECF APPLICATION GRANTEB
VIA ECF _. . SOORDERED

The Honorable John G. Koeltl NP

United States District Judge
500 Pearl Street t - -
United States Courthouse, Southern District of New York “John G. Koellt, US.DaL
New York, NY 10007 3/43/2 3
Re: Jacqueline Melendez vy. NYU Langone Hospitals, Karlos
Hernandez, and Kathleen Pacina, Docket No.: 22-cv-07632

 

 

Dear Judge Koeltl:

We represent Defendants in the above-referenced matter. We write jointly with
Plaintiff, in accordance with Your Honor’s Individual Practice Rule I(D), to request mutual sixty
(60) day extensions of the following:

(1) _ the deadline for the parties to complete discovery be extended from March
24, 2023 to May 23, 2023;

(2) the deadline for the parties to complete dispositive motions be extended
from June 7, 2023 to August 7, 2023; and,

(3) the deadline for the parties to submit a joint pretrial order, together with any
motions in limina or motions to bifurcate, be extended from July 14, 2023 to September 12, 2023.

This is the parties’ first request for extension. We thank the Court for its
consideration of this request and attention to this matter.

Respectfully submitted,
JACKSON LEWIS, P.C.

lel Kathage Y. Carry

Kathryn J. Barry
Heather L. Veneroni
ce: All Counsel of Record (via ECF)

4879-2486-6899, v. 1

 
